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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

Las Americas Immigrant Advocacy       §
Center, et al                         §
                                      §      NO: AU:23-CV-01537-DAE
      Plaintiffs,                     §
vs.                                   §
                                      §
Steven C. McCraw, et al.              §
                                      §
      Defendants.

                    ORDER SETTING STATUS CONFERENCE
      It is hereby ORDERED that the above entitled and numbered case is set

for a STATUS CONFERENCE before Senior U.S. District Judge David Alan

Ezra in Courtroom 2, on the Fourth Floor of the United States Courthouse, 501

West Fifth Street, Austin, TX, on Wednesday, May 28, 2025 at 02:30 PM.

      IT IS SO ORDERED.

      DATED: Austin, Texas May 09, 2025.




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                                          DAVID ALAN EZRA
                                          SENIOR U.S. DISTRICT JUDGE
